     Case 3:14-cv-01326-C Document 35 Filed 07/20/15              Page 1 of 1 PageID 916


                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

GLORIA WALKER                                      §
                                                   §
        Plaintiff,                                 §
v.                                                 §         3:14-CV-1326-P
                                                   §
UT SOUTHWESTERN MEDICAL                            §
CENTER                                             §
                                                   §
                Defendant.                         §

                                      FINAL JUDGMENT

        Pursuant to the Court's Order of July 20, 2015, the Court issues judgment as follows:

        1) Gloria Walker takes nothing from her claims against UT Southwestern Medical

            Center; and

        2) Costs are assessed against Plaintiff.

        IT IS SO ORDERED.

        Signed this 20th day of July, 2015.




                                                       UNITED STATES DISTRICT JUDGE
